  Case 2:21-cv-00067-Z Document 36 Filed 05/20/21             Page 1 of 6 PageID 827



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )       Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


               DEFENDANTS’ PROPOSED BRIEFING SCHEDULE FOR
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




                                              1
   Case 2:21-cv-00067-Z Document 36 Filed 05/20/21                 Page 2 of 6 PageID 828



       On May 17, 2021, the Court ordered the parties to separately propose briefing schedules

for Plaintiffs’ Motion for Preliminary Injunction and to address whether the Court “should advance

the trial on the merits and consolidate it with the preliminary injunction hearing” under Rule

65(a)(2), and “whether, and to what extent, expedited discovery is necessary.” ECF No. 32.

       As an initial matter, for the reasons set out in Defendants’ Motion to Stay Proceedings

Pending Ruling on Their Motion to Transfer, ECF No. 33, Defendants believe that all deadlines

and proceedings in this case should be stayed until the Court rules on the transfer motion that will

be fully briefed on May 28, 2021, ECF No. 34. If, however, the Court is not inclined to stay

proceedings at this juncture, Defendants propose the following.

       In this case, the Plaintiff States raise claims under the Administrative Procedure Act

(“APA”). See ECF No. 1, Compl. ¶¶ 85-98 (Counts I-IV, challenging the January 20 memorandum

as “Arbitrary and Capricious Agency Action”). Plaintiffs’ remaining claims, alleging violations of

the Agreement Between DHS and Texas, the Immigration and Nationality Act (“INA”),

specifically 8 U.S.C. § 1225, and the Take Care Clause, are all similarly raised under the APA.

See ECF No. 1, Compl. ¶ 101 (Count V, arguing the memorandum was issued without following

the requirements of the agreement and “is therefore ‘arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law’” in violation of the APA); Compl. ¶ 104 (Count VI,

arguing the memorandum conflicts with 8 U.S.C. § 1225 and is therefore “agency action” that

“[t]he APA prohibits”); Compl. ¶ 113 (Count VII, arguing the memorandum violates the Take

Care Clause and that “[u]nconstitutional agency action or inaction violates the APA”).

       A court reviewing agency action under the APA is limited to reviewing “the whole record

or those parts of it cited by the party.” 5 U.S.C. § 706; Fla. Power & Light Co. v. Lorio, 470 U.S.

729, 743-44 (1985). Accordingly, to allow for review of Plaintiffs’ claims, Defendants propose




                                                 2
   Case 2:21-cv-00067-Z Document 36 Filed 05/20/21                  Page 3 of 6 PageID 829



that they be given a reasonable amount of time to identify what should be included in and to

compile an administrative record for the challenged agency memorandum. Defendants have begun

that process and believe that they can compile and produce the administrative record to Plaintiffs

within 21 days of the filing of the motion for preliminary injunction, by June 4, 2021. Because

Defendants’ arguments in response to the motion for preliminary injunction may depend in part

on the administrative record, Defendants further propose that they file their response to the motion

for preliminary injunction 7 days after producing the record, by June 11, 2021.

       On May 19, 2021, the parties conferred on whether discovery is necessary and whether

resolution of the motion for preliminary injunction should be consolidated with the merits. Based

on that conferral, Defendants’ understanding is that the parties may be able to reach an agreement

that no discovery is necessary in this case, but it will depend on what the administrative record

ultimately looks like. Similarly, whether it is appropriate to consolidate briefing and resolution of

the preliminary injunction with briefing and resolution of the merits of the case will depend in part

on whether the parties agree that the merits can be resolved based on the administrative record

alone. Accordingly, Defendants propose that the schedule provide the parties with time after

Defendants produce the administrative record to further confer on discovery and whether the

preliminary injunction hearing can be consolidated with the merits. If the parties ultimately agree

on these matters they can advise the Court in advance of the States filing their reply in support of

their motion for a preliminary injunction, and can notify the Court whether the parties believe any

additional briefing will be necessary if the parties agree to treat the motion for preliminary

injunction as a motion for summary judgment. If the parties do not agree, they can submit a

proposed briefing schedule for resolving any remaining disputes on the sufficiency of the




                                                 3
   Case 2:21-cv-00067-Z Document 36 Filed 05/20/21                 Page 4 of 6 PageID 830



administrative record and discovery, so that the Court can resolve those issues with the benefit of

full briefing.

        For these reasons, Defendants respectfully request that, if the Court does not grant

Defendants’ Motion to Stay Proceedings Pending Ruling on Their Motion to Transfer, ECF

No. 33, that the Court set the following schedule and deadlines:

            June 4, 2021 – Defendants produce the administrative record

            June 11, 2021 – Defendants’ response to the motion for preliminary injunction

            June 18, 2021 – Parties confer and either advise the Court that they have reached an
                            agreement on consolidation with the merits and discovery, or propose
                            a briefing schedule for resolving any remaining disputes

            June 25, 2021 – Plaintiffs’ reply in support of motion for preliminary injunction
                            (assuming no further briefing results from the parties’ conferral)




                                                 4
Case 2:21-cv-00067-Z Document 36 Filed 05/20/21     Page 5 of 6 PageID 831



   Date: May 20, 2021                  Respectfully submitted,

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                                   5
   Case 2:21-cv-00067-Z Document 36 Filed 05/20/21               Page 6 of 6 PageID 832



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2021, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the Northern District of Texas by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                                    /s/ Brian C. Ward
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